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                                           THE HONORABLE BENJAMIN H. SETTLE
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 9
     LESLIE WHITE                            Case No. 2:20-cv-00952-BHS
10
                        Plaintiff,           DEFENDANT ETHICON, INC.’S
11                                           MOTION ON AMOUNT OF
          vs.                                ATTORNEY FEES AND COSTS
12
     ETHICON, INC.,                          NOTED FOR: APRIL 8, 2022
13
                        Defendant.
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                                                                       LAW OFFICES
     DEFENDANT.’S MOTION ON AMOUNT OF                              CALFO EAKES LLP
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 1          Pursuant to the Court’s February 28, 2022 Order (Dkt. No. 127), awarding Defendant

 2   Ethicon, Inc. (“Ethicon”) its attorney fees in connection with opposing Plaintiff’s motion to

 3   continue trial, Ethicon moves the Court for an award of reasonable attorney fees in the amount of

 4   $5,816.60 from Plaintiff’s counsel.

 5                                         I.     BACKGROUND

 6          As the Court is aware, on February 20, 2022, Plaintiff asked the Court to continue the trial

 7   again, based on conflicts that should have been evident to Plaintiff’s counsel at, or shortly after,

 8   the time the Court set the case schedule in October 2021. See Pl.’s Mot. to Continue Trial and

 9   Extend All Pretrial Deadlines (“Pl.’s Mot. to Continue”) (Dkt. No. 120). Ethicon opposed and

10   cross-moved for dismissal pursuant to Rule 41(b), in light of Plaintiff’s repeated delays in the case.

11   Def.’s Resp. in Opp’n to Pl.’s Mot. to Continue Trial and Extend All Pretrial Deadlines and Cross-

12   Mot. to Dismiss Pursuant to Fed. R. Civ. P. 41(b) (Def.’s Resp. to Pl.’s Mot. to Continue) (Dkt.

13   No. 121) at 2.

14          In its February 28, 2022 Order, the Court ruled that Plaintiff did not establish good cause

15   for a continuance and denied Plaintiff’s Motion. Order Denying Pl.’s Mot. to Continue (Dkt. No.

16   127) at 2–3. The Court outlined Plaintiff’s “dilatory behavior” and found that Plaintiff had

17   “delay[ed] the procedure of this case” and “impeded Ethicon’s ability to prepare for trial.” Id. The

18   Court denied Ethicon’s Cross-Motion to Dismiss but, pursuant to its inherent powers, ordered

19   Plaintiff’s counsel “to pay the reasonable attorney fees and costs associated with Ethicon’s

20   response to her motion to continue.” Id. at 4 (citing Goodyear Tire & Rubber Co. v. Haeger, 137

21   S. Ct. 1178, 1186 (2017) (“Federal courts possess certain inherent powers, not conferred by rule

22   or statute, to manage their own affairs so as to achieve the orderly and expeditious disposition of

23   cases. That authority includes the ability to fashion an appropriate sanction for conduct which

24   abuses the judicial process.” (internal quotations omitted)); Am. Unites for Kids v. Rousseau, 985

25   F.3d 1075, 1088 (9th Cir. 2021) (“A district court may, among other things, dismiss a case in its

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 1   entirety, bar witnesses, exclude other evidence, award attorneys’ fees, or assess fines.”).

 2                                         II.     ARGUMENT

 3          The question of whether Plaintiff’s counsel must pay attorney fees and costs has been

 4   determined; the only remaining issue is the amount. As explained below, reasonable attorney fees

 5   for Ethicon total $5,816.60, based on 16.2 hours of work performed by national counsel Butler

 6   Snow LLP and local counsel Calfo Eakes LLP in preparing Ethicon’s Response in Opposition to

 7   Plaintiff’s Motion to Continue Trial and Extend All Pretrial Deadlines and Cross-Motion to

 8   Dismiss Pursuant to Fed. R. Civ. P. 41(b) (Dkt. No. 121). Ethicon is not seeking taxable costs as

 9   provided in 28 U.S.C. § 1920 in the instant motion.

10   A.     Legal Standard

11          Washington law governs the method by which a federal district court calculates an award

12   of attorney fees and costs. See Mangold v. California Pub. Utilities Comm’n, 67 F.3d 1470, 1478

13   (9th Cir. 1995). Washington courts apply the “lodestar” method to calculate an award of attorney

14   fees. Bowers v. Transamerica Title Ins. Co., 100 Wash. 2d 581, 593 (1983). The lodestar fee is

15   determined by multiplying the number of hours counsel reasonably spent on the matter by a

16   reasonable hourly rate. See id.; Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir.

17   2008) (citing Ferland v. Conrad Credit Corp., 244 F.3d 1145, 1149 n. 4 (9th Cir. 2001)); see, e.g.,

18   Carbon v. Seattle Reprod. Med. Inc. PS, No. 219CV01491RAJJRC, 2020 WL 5513600, at *1

19   (W.D. Wash. Sept. 14, 2020). This lodestar figure is “presumptively reasonable.” Cunningham v.

20   Cty. of Los Angeles, 879 F.2d 481, 488 (9th Cir. 1988).

21   B.     Under the lodestar method, Ethicon seeks to recover $5,816.60 in attorneys’ fees.

22          The Declarations of Mitchell K. Morris and Andrew DeCarlow are attached hereto. Mr.

23   Morris, of Butler Snow LLP, and Mr. DeCarlow, of Calfo Eakes LLP, are the attorneys who

24   primarily incurred fees in connection with the instant matter. Their respective Declarations provide

25   detail on the name, position, and experience of each attorney, together with his current hourly

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 1   billing rate, number of hours billed, and total fees. A summary is as follows:

 2
      Name                   Years of Experience        Hourly Rate        Hours Billed              Fees
 3
      Mitchell K. Morris     Attorney, 17 years         $368.00            13.7                      $5,041.60
 4

 5    Andrew DeCarlow        Attorney, 7 years          $310.00            2.5                       $775.00

 6    TOTAL                                                                                          $5,816.60

 7           The total requested amount of $5,816.60 is reasonable, both in terms of the hourly rates

 8   ($368/hour and $310/hour) and hours expended (16.2 hours), as explained below. While other

 9   attorneys and staff also incurred fees and expenses related to Plaintiff’s Motion, Ethicon only now

10   seeks to recover the more limited fees for those two attorneys who directly and primarily handled

11   Ethicon’s Response and Cross-Motion to Dismiss.

12           1.     Ethicon’s attorneys’ hourly rates of $368/hour and $310/hour are reasonable.

13           “Where the attorneys in question have an established rate for billing clients, that rate will

14   likely be a reasonable rate.” Bowers, 100 Wash. 2d at 597. When assessing reasonableness, “the

15   relevant community is the forum in which the district court sits.” Camacho, 523 F.3d at 979. The

16   Court may also “rely ‘on its own knowledge and experience’ in determining the reasonableness of

17   an hourly rate.” Lauer v. Longevity Med. Clinic PLLC, No. C13-0860 JCC, 2016 WL 2595122, at

18   *3 (W.D. Wash. May 4, 2016) (quoting Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011)).

19   It may further consider, inter alia, “the level of skill required by the litigation, time limitations

20   imposed on the litigation, the amount of the potential recovery, the attorney’s reputation, and the

21   undesirability of the case.” Zones, Inc. v. Evergreen Info. Tech. Servs., Inc., No. 2:17-CV-00457-

22   RAJ, 2019 WL 6894676, at *2 (W.D. Wash. Dec. 18, 2019) (citing Bowers, 100 Wash. 2d at 597);

23   see also Wa. R. Prof. Conduct 1.5(a) (listing factors considered in determining fee reasonableness,

24   including “whether the fee is fixed,” the “nature and length of the professional relationship with

25   the client,” and the “experience, reputation, and ability of the lawyer”).

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 1           Based on the established billing rate and the experience and qualifications of Ethicon’s

 2   attorneys, the hourly rates charged were reasonable for the tasks performed. Butler Snow attorney

 3   Mitchell K. Morris and Calfo Eakes attorney Andrew DeCarlow billed the time at issue. See Morris

 4   Decl.; DeCarlow Decl. Mr. Morris has practiced law for 17 years. Morris Decl., ¶ 3. He is a partner

 5   in Butler Snow’s Richmond, Virginia, office and is a member of the litigation department,

 6   practicing within the Products, Catastrophic, and Industrial Litigation and Commercial Litigation

 7   groups. See Id. ¶ 3, Ex. 1 (Mr. Morris’s Butler Snow Profile). He graduated from Washington &

 8   Lee University School of Law in 2005, was admitted to the Virginia Bar in 2005, and joined Butler

 9   Snow in 2018. Id., ¶¶ 3-5. Mr. Morris has significant experience in class action, pharmaceutical,

10   and multi-district litigation, including with Ethicon’s defense of the pelvic mesh litigation since

11   2019. Id. Mr. DeCarlow has practiced law for around seven years. DeCarlow Decl., ¶ 3. He is an

12   associate at Calfo Eakes, in Seattle, Washington. Id. ¶ 3, Ex. 1 (Mr. DeCarlow’s Calfo Eakes

13   Profile). Mr. DeCarlow’s practice focuses, in large part, on civil litigation. Id. He graduated from

14   University of California, Los Angeles, School of Law in 2015, was admitted to the California Bar

15   in 2015, was admitted to the Washington Bar in 2017, and joined Calfo Eakes in 2017. Id., ¶¶ 3-

16   4. Mr. DeCarlow has represented Ethicon in this matter since June 2020. Id.

17           The hourly rate for work performed by Mr. Morris in this case is $368.00. Morris Decl., ¶¶

18   6-7. This is the rate Butler Snow has charged for Mr. Morris’s work in connection with certain

19   pelvic mesh matters since January 1, 2019. Id. Notably, Mr. Morris’s rate for this matter represents

20   a substantial reduction of his standard hourly rate in light of the nature of the relationship between

21   Butler Snow and Ethicon. Id. The hourly rate performed by Mr. DeCarlow in this case is $310.00.

22   DeCarlow Decl., ¶¶ 5-6. This is the rate Calfo Eakes has charged for Mr. DeCarlow’s work in

23   connection with this matter since June 9, 2020. Id. Like Mr. Morris’s rate, Mr. DeCarlow’s rate

24   represents a substantial reduction of his standard hourly rate in light of the nature of the relationship

25   between Calfo Eakes and Ethicon. Id. The reasonableness of Ethicon’s attorneys’ rates is further

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 1   supported by the Declaration of Calfo Eakes founding member Patricia A. Eakes, attached hereto,,

 2   and this District’s case law. See Zones Inc., 2019 WL 6894676, at *2 (collecting cases detailing

 3   reasonable rates, including reasonable rates of $500 per hour).

 4           2.      Ethicon’s attorneys’ expenditure of 16.2 hours is reasonable.

 5           “The hours reasonably expended must be spent on claims having a ‘common core of facts

 6   and related legal theories.’” Zones, Inc., 2019 WL 6894676, at *1 (quoting Martinez v. City of

 7   Tacoma, 81 Wash. App. 228, 242–43 (1996)); see Webb v. Sloan, 330 F.3d 1158, 1168–69 (9th

 8   Cir. 2003); see also Garcia v. Serv. Emps. Int’l Union, 856 F. App’x 105, 108 (9th Cir. 2021)

 9   (affirming award of attorney fees as sanction for discovery violations). “[A]ttorneys seeking fees

10   must provide ‘reasonable documentation of the work performed’ in order to allow the court to

11   assess whether the number of hours expended was reasonable.” Zones, Inc., 2019 WL 6894676, at

12   *2.

13           As set forth in their Declarations, Mr. Morris and Mr. DeCarlow spent a total of 16.2 hours

14   preparing Ethicon’s Response and Cross-Motion to Dismiss over several days during the week of

15   February 14, 2022. Morris Decl. ¶ 6; Ex. 2: DeCarlow Decl., ¶ 5. This time was expended on

16   research, drafting, and editing with respect Ethicon’s 13-page response and cross-motion.

17   Ethicon’s attorneys’ rates and hours were therefore reasonable, necessary, and specific to the filing

18   for which the Court awarded attorney fees.

19                                          III.    CONCLUSION

20           Ethicon seeks to recover from Plaintiff’s counsel a total of $5,816.60 in reasonable attorney

21   fees. Ethicon prays for all other relief to which it is entitled.

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 1        DATED this 24th day of March, 2022.

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